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                    EXHIBIT “A”
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..              DEPARTMENT Of H !-:.ALTH. l:.DUCATION, .1.t~D \', ,:·:._r-;,RC
                                  PUllU C t-iLALTH IH.RYICE
                             f'OOO AND C,RUG ADMINISTHATION
                                    'WA.~~U4::l,T(>N.   DC. ,..__
                                     April 10, 1979


         Mr. 0av1d B. Daugherty, President-
         Zfnk &Triest Company, Inc.
         P.O. Box 321
         Montgomeryvflle, Pa. 18938
         Dear Mr. Daugherty:
         This 1s in teply to your 1 et ter of 3/16/79 concerning the use of
         a flavor blend (other natural fiavors) in category J ite cream.
         The definiti6n and standard of fdentfty for ice cr·eam (21 CFR
         135.110) as ft pe~tains to the designation of flavor~ in the
         identity statern~nt for this food was established long before
         the development of the general flavor regulations published under
         21 CFR 101 .22. Consequently, the labeling requirements for the
         declaratfon of flavors in the name of 1ce cream are specifically
         provi'ded for by the standard and is separate and ap1rt from the
         general flavor regulations. Therefore, the standa~d for ice
         cream does not provide for the label designation of "With other
         flavors• (W0NF).
         A product identified as "V~nilla lei Cream" is subject to the
         category I 1ce cream requirements and, ·therefore, must contain
         only the characterizing flavor derived from: vanilla beans .
         We hope this infonnation is helpful. ·

                                                          Sincerely yours.

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                                                          J. L. Summers
                                                          Assistant to the Director
                                                          Dh.1s1on of Regulatory Guidance
                                                          Bureau of foods




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